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                                                                       FILED: May 8, 2025


                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT


                                     ___________________

                                           No. 25-1519
                                      (8:19-cv-01944-SAG)
                                     ___________________

        J.O.P.; M.A.L.C.; M.E.R.E.; K.A.R.C.; E.D.G.; L.M.Z., on behalf of themselves
        as individuals and on behalf of others similarly situated.

                    Plaintiffs - Appellees

        v.

        UNITED STATES DEPARTMENT OF HOMELAND SECURITY; UNITED
        STATES CITIZENSHIP AND IMMIGRATION SERVICES; KIKA SCOTT,
        Senior Official Performing the duties of the Director, U.S. Citizenship &
        Immigration Services; KRISTI NOEM, Secretary of Homeland Security; U. S.
        IMMIGRATION & CUSTOMS ENFORCEMENT; TODD LYONS, Acting
        Director US Immigration and Customs Enforcement

                    Defendants - Appellants

                                     ___________________

                                 CORRECTED ORDER
                                   ___________________

             The district court’s order dated April 23, 2025, is administratively stayed until

        May 15, 2025.

             Appellees are directed to respond to the motion for stay pending appeal on or
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        before 12:00 p.m. on May 12, 2025. Appellants are directed to file their reply on or

        before 9:00 a.m. on May 13, 2025.

                                              For the Court

                                              /s/ Nwamaka Anowi, Clerk
